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          IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF ALABAMA
                       NORTHERN DIVISION

DAVITA M. KEY,                              )
                                            )
      Plaintiff,                            )
                                            )       Civil Case No.:
v.                                                  2:19-cv-00767-ECM-SMD
                                            )
HYUNDAI MOTOR                               )
MANUFACTURING ALABAMA,                      )
LLC; HYUNDAI ENG AMERICA,                   )
INC. and DYNAMIC SECURITY,                  )
INC.,                                       )
                                            )
      Defendants.                           )

                           NOTICE OF APPEARANCE

      T. Matthew Miller of Bradley Arant Boult Cummings, LLP hereby provides

notice of his appearance on behalf of Defendant Hyundai ENG America, Inc.

(“HEA”) in this case and hereby requests that he be included on the distribution list

to receive electronic service of all electronic filings in the above-styled case and that

he be served with all non-electronic filings at the address below.

      DATED: January 14, 2022.

                                     Respectfully submitted,


                                     /s/ T. Matthew Miller
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                                     Email: mmiller@bradley.com
                                     One of the Attorneys for Defendant
                                     Hyundai ENG America, Inc.



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                        CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on January 14, 2022, the foregoing
was filed with the Clerk of the Court via the CM/ECF which will send notification
of such filing to the following counsel of record:
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